                        IN THE SUPREME COURT OF THE STATE OF NEVADA


                 SHELLEY MURAWSKI, AN                               No. 67813
                 INDIVIDUAL,

                                vs.
                                    Appellant,                          FILED
                 KELLEHER &amp; KELLEHER, LLC, A                            Jai 1 2016
                 NEVADA LIMITED LIABILITY
                 COMPANY; AND JOHN T. KELLEHER,
                 ESQ., AN INDIVIDUAL,
                                        Respondents.
                 SHELLEY MURAWSKI, AN                               No. 68390
                 INDIVIDUAL,
                                     Appellant,
                                vs.
                 DEMPSEY ROBERTS &amp; SMITH, LTD.,
                 A NEVADA LIMITED LIABILITY
                 COMPANY; AND KENNETH M.
                 ROBERTS, ESQ., AN INDIVIDUAL,
                                        Respondents.
                 SHELLEY MURAWSKI,                                  No. 68474
                                    Appellant,
                                vs.
                 KELLEHER &amp; KELLEHER, LLC, A
                 NEVADA LIMITED LIABILITY
                 COMPANY; AND JOHN T. KELLEHER,
                 ESQ., AN INDIVIDUAL,
                                        Respondents.
                                     ORDER DISMISSING APPEALS
                            Pursuant to the stipulation of the parties, and cause
                 appearing, these appeals are dismissed. The parties shall bear their own
                 costs and attorney fees. NRAP 42(b).
                            It is so ORDERED.
                                                         CLERK OF THE SUPREME COURT
                                                         TRACE K. LIND,

 SUPREME COURT                                           BY:
      OF
    NEVADA


CLERK'S ORDER




                                                                         /1 -1/ge
 ‘01-1947
                          cc:   Hon. Valerie Adair, District Judge
                                Larry J. Cohen, Settlement Judge
                                Maier Gutierrez Ayon, PLLC
                                Campbell &amp; Williams
                                Eighth District Court Clerk




     SUPREME COURT
                OF
          NEVADA



    CLERK'S ORDER
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